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                       IN THE UNITED STATES DISTRICT COURT FOR
                         THE NORTHERN DISTRICT OF OKLAHOMA

  UNITED STATES, ex rel. DARON STREET, )
  M.D. and R. STEVEN PAULSON, M.D.,    )
                                       )                   Case No. 17-CV-293-TCK-JFJ
               Plaintiff,              )
                                       )                   FILED EX PARTE
                   v.                  )                   AND UNDER SEAL
                                       )
  GENENTECH, INC.,                     )
                                       )
               Defendant.              )
                                       )



                                                 ORDER

           The United States having declined to intervene in this action pursuant to the False Claims

  Act, 31 U.S.C. § 3730(b)(4)(B), it is hereby ORDERED that:

           1.     the Complaint, The United States’ Notice of Election to Decline Intervention, and

  this Order be unsealed and served upon the defendant by the relators;

           2.     all other contents of the Court’s file in this action remain under seal and not be

  made public or served upon the defendant;

           3.     the seal be lifted as to all other matters occurring in this action after the date of this

  Order;

           4.     the parties shall serve all pleadings and motions filed in this action, including

  supporting memoranda, upon the United States, as provided for in 31 U.S.C. § 3730(c)(3). The

  United States may order any deposition transcripts and is entitled to intervene in this action, for

  good cause, at any time;

           5.     the parties shall serve all notices of appeal upon the United States;

           6.     all orders of this Court shall be sent to the United States; and that



                                                                       c/J .Thorp, K. Harrington, M.
                                                                       Hardcastle, A. Doverspike, A.
                                                                       Fogleman, D. Keglovits, J. Pebsworth
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         7.      should the relators or the defendant propose that this action be dismissed, settled,

  or otherwise discontinued, the Court will solicit the written consent of the United States before

  ruling or granting its approval.

         Dated this 7th day of October, 2019



                                                       ____________________________________
                                                       TERENCE C. KERN
                                                       United States District Judge




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